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                             UNITED STATES DISTRICT COURT
16
                            CENTRAL DISTRICT OF CALIFORNIA
17                              Case No. 2:18-cv-10481-FMO (JC)
18
19     SECURITIES AND EXCHANGE
       COMMISSION,
20
                       Plaintiff,
21
              vs.                                  Hearing Date: _August 20, 2020
22                                                 Time: 10 a.m.
23                                                 Location: 350 W. 1st Street, 6th Floor,
       ROBERT DAVIS, JR., et al.                   Courtroom 6D, Los Angeles, CA 90012
24                                                 (Telephonic hearing requested)
25                   Defendants.
26
27         PLAINTIFF’S NOTICE OF MOTION AND UNOPPOSED MOTION
         FOR EXTENSION OF TIME TO FILE SETTLEMENT DOCUMENTS OR
28     MOTION ADDRESSING MONETARY RELIEF AGAINST THE DEFENDANTS
                                               1
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1            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2            PLEASE TAKE NOTICE that on August 20, 2020 at 10 a.m. or as soon thereafter
3      as this matter may be heard, before the Honorable Fernando M. Olguin, United States
4      District Judge, located at 350 W. 1st Street, 6th Floor, Courtroom 6D, Los Angeles, CA
5      90012, the Plaintiff Securities and Exchange Commission’s motion for an Order extending
6      the deadline to determine monetary relief against the Defendants for 90 days. The grounds
7      for the Unopposed Motion are that good cause exists for the extension because the Supreme
8      Court’s decision in Liu v. SEC has been rendered offering guidance on establishing the
9      Defendants’ respective disgorgement amounts which require additional assessment and
10     authorization from the Commission. Should the Court find it appropriate to require a
11     hearing on this matter, the Commission requests that it be held via telephone in light of
12     restrictions related to the COVID 19 pandemic.
13           The Motion is based on this Notice, the motion and memo in support, all papers,
14     pleadings, documents, arguments of counsel, and other materials presented before or
15     during the hearing on this motion (if deemed necessary by the Court) and any other
16     evidence and argument the Court may consider.
17           In accordance with Local Rule 7-3, counsel represents that they have conferred with
18     counsel for the Defendants on various dates in July, 2020 regarding this motion and they
19     have each indicated they do not oppose this motion.
20
21
22     July 20, 2020                             Respectfully submitted,
23                                           By: Christine Nestor & Stephanie N. Moot
                                                 Christine Nestor & Stephanie N. Moot
24
                                                 Counsel for the Plaintiff
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1
                                        PROOF OF SERVICE
2
3      I am over the age of 18 years and not a party to this action. My business address is: U.S.
4      SECURITIES AND EXCHANGE COMMISSION, 801 Brickell Avenue, Suite 1950,
       Miami, Florida 33131 Telephone No. (305) 982-6300; Facsimile No. (305) 536-4154. On
5
       July 20, 2020 I caused to be served the document entitled Plaintiff’s Notice and Unopposed
6      Motion for Extension of Time to File Settlement Documents or Motion Addressing
7      Monetary Relief Against the Defendants, on all the parties to this action addressed as stated
       on the attached service list:
8
9      ☐ OFFICE MAIL: By placing in sealed envelope(s), which I placed for collection and
10     mailing today following ordinary business practices. I am readily familiar with this
11     agency’s practice for collection and processing of correspondence for mailing; such
       correspondence would be deposited with the U.S. Postal Service on the same day in the
12
       ordinary course of business.
13
14     ☐ PERSONAL DEPOSIT IN MAIL: By placing in sealed envelope(s), which I
       personally deposited with the U.S. Postal Service. Each such envelope was deposited with
15
       the U.S. Postal Service at Los Angeles, California, with first class postage thereon fully
16     prepaid.
17
18     ☐ EXPRESS U.S. MAIL: Each such envelope was deposited in a facility regularly
       maintained at the U.S. Postal Service for receipt of Express Mail at Los Angeles,
19
       California, with Express Mail postage paid.
20
21     ☐ HAND DELIVERY: I caused to be hand delivered each such envelope to the office
22     of the addressee as stated on the attached service list.

23
       ☐ UNITED PARCEL SERVICE: By placing in sealed envelope(s) designated by
24     United Parcel Service (“UPS”) with delivery fees paid or provided for, which I deposited
25     in a facility regularly maintained by UPS or delivered to a UPS courier, at Los Angeles,
26     California.

27
       ☐ ELECTRONIC MAIL: By transmitting the document by electronic mail to the
28     electronic mail address as stated on the attached service list.
                                                    3
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1      ☒ E-FILING: By causing the document to be electronically filed via the Court’s
2      CM/ECF system, which effects electronic service on counsel who are registered with the
       CM/ECF system.
3
4      ☐ FAX: By transmitting the document by facsimile transmission. The transmission was
5      reported as complete and without error.

6      I declare under penalty of perjury that the foregoing is true and correct.
7
8      Date: July 20, 2020                           /s/ Christine Nestor
9                                                    Christine Nestor

10
11                                SEC v. Robert Davis, Jr., et al.
12                  United States District Court – Central District of California
                                Case No. 2:18-cv-10481-FMO (JC)
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